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                        SUPPLEMENTAL DECLARATION OF DEBORAH FLEISCHAKER

                     I, Deborah Fleischaker, declare the following under 28 U.S.C. § 1746, and state that

            under penalty of perjury the following is true and correct to the best of my knowledge and belief:

                     1. Between 2011 and 2023, I worked on immigration, including immigration detention

                         issues, through various positions within the U.S. Department of Homeland Security

                         (DHS), as described in my original declaration, submitted at ECF No. 2-14, Espinoza

                         Escalona v. Noem, No. 25-cv-604 (D.D.C. Mar. 1, 2025). Most recently, I served as

                         an Assistant Director at ICE, heading the Office of Regulatory Affairs and Policy,

                         and as the Acting Chief of Staff of U.S. Immigration and Customs Enforcement

                         (ICE). In those capacities, I worked extensively with the leadership of ICE

                         Enforcement and Removal Operations (ERO).

                     2. I have reviewed the government’s brief in opposition to the motion for a stay in the

                         Espinoza Escalona case, as well as the declarations from Lieutenant Colonel Robert

                         Green and Acting Field Office Director Juan Lopez-Vega. See ECF Nos. 14, 14-1,

                         14-2.

                     3. I provide this declaration to supplement my original declaration, based on my

                         personal knowledge and experience as well as review of the documents referenced

                         above.

                     4. The government continues to justify the transfer of immigration detainees from the

                         United States to the military base at Guantanamo Bay, Cuba on operational grounds.

                         Specifically, the government repeats the same justifications that I previously




                                                              1
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                         addressed, 1 essentially, that these transfers are necessary to meet detention capacity

                         needs, facilitate removals, and ensure safe and secure detention of “high threat illegal

                         aliens.” However, the government has provided no response to any of my prior

                         explanations of how none of these rationales hold up. The government has not

                         addressed why ICE is unable to use existing detention capacity or use its many tools

                         to expand detention facilities within the United States; how much more costly and

                         logistically burdensome it is to detain noncitizens at Guantanamo; how it makes no

                         operational sense to send people to Guantanamo as an additional layer of expense and

                         complexity prior to removal; nor why detention facilities in the United States are

                         insufficient to ensure detainee safety and security.

                     5. In short, the government has failed to justify the need to engage in such expensive,

                         logistically complicated, and unnecessary transfers to Guantanamo.

                     6. The government also argues that the Immigration and Nationality Act (INA)

                         authorizes these transfers to Guantanamo because it authorizes “broad extraterritorial

                         authority” to carry out removals and therefore provides the government

                         extraterritorial authority to detain in any “United States Government facilit[y].” ECF

                         No. 14 at 25-28. But the government is conflating two very different components of

                         the immigration lifecycle, removal and detention. As I explain below, removal is an




            1
              Both declarations state in conclusory fashion: “The use of NSGB [Naval Station at
            Guantanamo Bay] is deemed necessary to complete ongoing removal operations due to the
            number of illegal aliens present in the United States and the current and ever-evolving
            availability of detention space in ICE detention facilities or other contracted detention facilities
            to house aliens for civil immigration purposes. Available detention space fluctuates due to, for
            example, contracting issues, state laws, and injunctions issued by federal district courts.”
            Compare Decl. of Juan Lopez-Vega, ECF No. ¶ 6, with Las Americas Immigr. Advoc. Ctr. v.
            Noem, 1:25-cv-418, ECF No. 14-1, ¶ 5 (D.D.C. Feb. 20, 2025).
                                                               2
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                         entirely different process separate from detention as authorized by the INA. Detention

                         is not necessary for removal, but where someone is detained for a removal, the

                         detention occurs prior to removal and is not part of the removal process. This is

                         confirmed by ICE’s own guidelines, policy, appropriations, and practice. Prior to

                         February 2025, ICE never claimed that it was detaining extraterritorially, at

                         Guantanamo or elsewhere; for individuals interdicted on the high seas and held at

                         Guantanamo, the government has consistently and explicitly stated that it is not

                         detaining them.

                     7. Below, I will explain how ICE conducts its removal operations; how the transfers to

                         Guantanamo completely deviate from this practice and therefore are not steps in an

                         ongoing lawful removal process; how detention at Guantanamo is unlawful and

                         unprecedented extraterritorial detention; and how the conditions that detainees

                         experience at Guantanamo are below the standard for conditions in U.S. detention

                         facilities.

            ICE’s Removal Policy and Practice

                     8. ICE ERO is organized into several divisions, including enforcement (responsible for

                         arrests), custody management (detention operations), and removal (coordinates,

                         manages and facilitates efforts to remove noncitizens from the United States). 2 Those

                         three divisions are managed differently, organized independently, and funded by




            2
             U.S. Immigr. & Customs Enf’t, Enforcement and Removal Operations (last updated Feb. 4,
            2025), https://www.ice.gov/about-ice/ero.
                                                              3
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                         different streams of appropriations. 3 The government’s brief tries to conflate

                         detention and removals, but they are two structurally different operations.

                     9. For instance, the government argues that the budget for ICE’s Transportation and

                         Removal Program, which funds removal operations, includes funding for

                         extraterritorial activity. ECF No. 14 at 25-26. But ICE’s detention activities are

                         funded separately from removal activities, 4 and the government cannot bootstrap

                         detention activities to removal activities by using that funding source.

                     10. Detention is authorized while ICE is making arrangements for removal. ICE cannot

                         begin to effectuate a removal until the noncitizen has a final order of removal and

                         certain requirements are met. Where ICE is effectuating removal by air, it must (1)

                         obtain any necessary travel documents to the country of final destination, and (2)

                         secure travel arrangements, including the flight manifest (which is a document that

                         lists all passengers and crew on a flight) and any permission necessary to travel

                         through transit countries. In some instances, it may take many months to meet these

                         requirements. Immigration laws authorize detention during that period. However, ICE

                         does not begin to effectuate a removal while waiting for travel documents or without

                         a complete travel itinerary. Once those details are confirmed and ICE begins to

                         effectuate removal, the authorized detention for removal ends and the removal begins.

                         Removal flights departing a staging facility to an international destination also require



            3
              Compare Dep’t of Homeland Sec., Immigration and Customs Enforcement Budget Overview
            Fiscal Year 2023 Congressional Justification 131 (2023),
            https://www.dhs.gov/sites/default/files/2022-
            03/U.S.%20Immigration%20and%20Customs%20Enforcement_Remediated.pdf
            [https://perma.cc/TP6C-VVQ5] (describing budget and activities for custody operations), to id.
            at 169 (describing budget for Transportation and Removal Program, which funds removals).
            4
              See supra n.3.
                                                               4
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                         the completion of a Form I-205 (Warrant of Removal confirming departure) or I-296

                         (Notice to Alien Ordered Removed/Departure Vertification) to verify departure of an

                         aircraft from a staging location for removal missions. 5

                     11. To use the example that the government raises: a noncitizen may be escorted from the

                         United States to Romania with a refueling stop in Germany. ECF No. 14 at 29. In that

                         scenario, ICE would not take the noncitizen out of the United States without

                         obtaining any necessary travel documents to Germany and Romania, confirming the

                         travel itinerary, or obtaining permission from Romania for the brief layover. Indeed,

                         ICE’s Removal Guidelines provide factors that must be considered when determining

                         and selecting the date of a departure, including “country clearance timeframes from

                         each specific country and/or countries, if [the] itinerary has multiple transit stops.” 6

                     12. The government tries to analogize the transfers to Guantanamo to the refueling stop

                         in Germany but, as illustrated below, that is not what is occurring because, as the

                         government admits, it is transferring people to Guantanamo while still making

                         arrangements to remove them to their presumed final destination. In other words,

                         ICE transfers people to Guantanamo without having removal plans in place as is

                         required before initiating removal. 7



            5
              ICE ERO, ICE Air Operations Handbook, at 10-11 (Feb. 20, 2024),
            https://www.ice.gov/doclib/foia/policy/iceAirOpsHandbookEd2_02202024.pdf
            [https://perma.cc/6VGL-RPA6].
            6
              Id. at 25-26.
            7
              See, e.g., Dep't of Def., First Flight of Illegal Aliens Arrives at Guantanamo, (Feb. 5, 2025),
            https://www.defense.gov/News/News-Stories/Article/Article/4055497/first-flight-of-illegal-
            aliens-arrives-at-guantanamo/ [https://perma.cc/X69L-VULY] (“[W]here it may take longer to
            reach agreements or process those individuals’ return to their nations of origin, DOD needs a
            place to house them before they return home.”); Sarah Fortinsky, Hegseth touts Guantanamo
            Bay as ‘perfect spot’ to house migrants, The Hill (Jan. 29, 2025),


                                                                 5
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                     13. The government also claims that people are “detained” during the course of this

                         removal process and thus that ICE “routinely exercises” its detention authority

                         outside of the United States. But that is not the case. Once ICE initiates the removal

                         process by putting detainees on a flight departing the United States, the detention

                         ends and removal process begins.

                     14. There are legally significant and practical reasons why detention ends when removal

                         begins. Noncitizens subject to detention by ICE must be afforded certain minimal

                         protections like access to counsel, medical care, and disciplinary procedures. These

                         are reflected in ICE’s various detention standards, which apply to facilities where

                         people are held for 72 hours or more. 8 After travel documents are procured and travel

                         arrangements confirmed, ICE may then transfer people to “staging facilities,” like the

                         Alexandria Staging Facility in Louisiana, where they are held for a short period of

                         time (generally under 72 hours) before departing the United States; those facilities

                         still have protections that apply since people are still in detention at that point. After

                         that, however, although those noncitizens may be on an ICE charter flight or escorted

                         by ICE on a commercial flight, they are not in detention. The standard of care for

                         noncitizens during the course of the removal is different from the standards required

                         for noncitizens in detention.




            https://thehill.com/policy/defense/5115256-hegseth-guantanamo-bay-migrants/ (“‘We don’t want
            illegal criminals in the United states any — not a minute longer than they have to be,’ [Hegseth]
            continued. ‘Move them off to Guantanamo Bay, where they can be safely maintained until they
            are deported to their final location, their country of origin, where they are headed.’”).
            8
              See generally U.S. Immigr. & Customs Enf’t, Performance-Based National Detention
            Standards 2011 (revised Dec. 2016), https://www.ice.gov/doclib/detention-
            standards/2011/pbnds2011r2016.pdf [https://perma.cc/KD8X-W8FE] (hereinafter “PBNDS”).
                                                                6
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                     15. This is the case even if a noncitizen has an extended layover. For instance, they may

                         have a long layover in a transit country or a mechanical issue may cause a delay in

                         getting to the next leg of an itinerary. In those situations, because it is mechanically

                         necessary to effectuate the removal, the ICE escort may house the noncitizen at a

                         motel or hotel for the night, but that is still not considered a detention.

            Guantanamo Transfers Are Unlawful Removals, Not Part of an Ongoing Lawful Removal
            Process

                     16. The government claims that the immigration detainees have not been removed to

                         Guantanamo because their transfer are part of an ongoing removal process that

                         remains to be completed. But as I have explained above, that is not the case.

                         Detention at Guantanamo is not equivalent to a stopover for refueling or other

                         mechanical reasons. Nor is it a step in the ongoing process of removal. In transferring

                         detainees to Guantanamo, the government has not identified a final destination other

                         than Guantanamo, let alone obtained travel documents or made arrangements for

                         travel to that presumed final destination. In contrast, layovers that are part of an

                         ongoing removal process are brief, limited only to as long as necessary, and pre-

                         arranged in advance with the rest of the itinerary confirmed. Thus, transfers to

                         Guantanamo are unlawful removals since Guantanamo is outside the United States

                         and, pursuant to the statute, 8 U.S.C. § 1101(g), when someone who is subject to a

                         final order departs the United States, they have been removed.

                     17. The government also claims that detainees’ transfer to Guantanamo are not removals

                         because to effectuate removal, the noncitizen must lawfully enter another country.

                         However, that is completely contrary to ICE’s policy and practice. As explained in a

                         2004 Notice of Proposed Rulemaking, removals do not require acceptance by the


                                                                7
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                         receiving country. 9 For example, ICE has carried out removals in a number of ways,

                         including by escorting someone to the border and watching them cross into the

                         foreign country; by escorting them to board a commercial or ICE charter plane and

                         ensuring the plane leaves U.S. territory; or, by escorting a noncitizen to a transit

                         country and placing them on a commercial or charter carrier through to the final

                         destination. 10 In all those scenarios, while ICE may coordinate with the final

                         destination, the removal is effectuated by the individual’s physical departure from the

                         United States, regardless of any “legal entry.” 11

                     18. In sum, the policy, practice, and guidance of ICE confirms that the removal process is

                         only initiated after certain steps are taken, and the transfer of detainees to

                         Guantanamo is not part of a lawful ongoing removal process.

            Extraterritorial Detention at Guantanamo is Illegal and Unprecedented

                     19. To my knowledge, this is the first time that ICE has detained a noncitizen who was

                         previously inside the United States at a location outside of the United States. The

                         government has not pointed to any prior instances of extraterritorial detention since

                         the INA authorized immigration detention. Rather, for decades, the government has

                         taken the position that migrants who were interdicted at sea and are housed at the

                         Migrant Operations Center (MOC) are not detained. 12 They enjoyed some freedoms



            9
               69 Fed. Reg. 42,901, 42,903-04 (July 19, 2004).
            10
               Id. at 42,903-04.
            11
               Id. at 42,904.
            12
               Int’l Refugee Assistance Project, Offshoring Human Rights: Detention of Refugees at
            Guantánamo Bay 16, 31, 33 (Sept. 2024), https://refugeerights.org/wp-
            content/uploads/2024/09/Offshoring-Human-Rights-Guantanamo-Bay-English-Report-
            September-2024-1.pdf [https://perma.cc/ZG4W-AYEV] (excerpt of Instruction 5500.1D stating
            “[m]igrants are not detained or incarcerated . . . .”); id. at 37 (“Migrants are not detained at this
            facility[, the MOC].”)..
                                                                8
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                         not typically available in detention, such as freedom of movement, going to the

                         grocery store, and holding jobs.

                     20. The people being transferred to and detained at Guantanamo by ICE currently are not

                         similarly situated and are, as the government freely admits, in detention. See, e.g.,

                         ECF No. 14 at 26-28. Indeed, since the transfers began in February 2025, ICE has

                         added “Naval Station Guantanamo Bay (JTF Camp Six and Migrant Ops Center)” in

                         its list of detention facilities on the ICE website. 13

                     21. This is another way in which the transfers to Guantanamo are completely different

                         from the layover scenario discussed by the government. In the scenario discussed

                         above, where an ICE charter carrier transports a group of noncitizens from the United

                         States to Romania with a refueling stop in Germany, those noncitizens generally

                         never even step foot off the plane. They only stop for as long as necessary to continue

                         effectuating the removal. In other words, these layovers are brief, limited to as long as

                         necessary, and pre-arranged in advance with the rest of the itinerary confirmed.

                     22. At Guantanamo, however, people are not only being taken off the flight, they are

                         being shackled, strip searched, and processed for intake at what are clearly detention

                         facilities at Guantanamo. People are also spending from several days to as long as

                         two weeks or more at Guantanamo—something that would not occur during an ICE

                         removal.

                     23. The detention at Guantanamo is also distinguishable from what occurs at staging

                         facilities for removal in the United States. Instead, the transfers to Guantanamo look



            13
              U.S. Immigr. & Customs Enf’t, Naval Station Guantanamo Bay (JTF Camp Six and Migrant
            Ops Center Main A) (updated Mar. 4, 2025), https://www.ice.gov/detain/detention-
            facilities/naval-station-guantanamo-bay [https://perma.cc/V3V2-Y4XP].
                                                                 9
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                         more like a lateral transfer from one detention facility to another, the difference being

                         that Guantanamo is outside the United States.

                     24. There are public reports how multiple individuals who were initially transferred from

                         within the United States to Guantanamo were subsequently transferred back to the

                         United States, either directly to a staging facility like Alexandria or first to a different

                         detention center and then onto a staging facility for removal. 14 Thus, in practice,

                         Guantanamo is not being used to stage removals.

                     25. As I explained in my previous declaration, this is a colossal waste of resources and it

                         makes no operational sense to add additional flights to and from Guantanamo, when

                         those individuals were ultimately staged for removal out of the United States.

                     26. If the government continues this practice and anticipates scaling up transfers to

                         Guantanamo, they will likely have to send even more people back to the United

                         States to actually effectuate their removals. This is not only costly and inefficient, it

                         makes no sense from an operational standpoint.

            Guantanamo Transfers are Statistically Significant

                     27. The government claims that the transfers to Guantanamo—290 people as of March 7,

                         2025—are insignificant compared to the number of detainees repatriated without ever

                         transiting through Guantanamo. ECF No. 14 at 10. But those statistics are misleading.

                     28. The government points to the number of monthly repatriations in 2024, ranging from

                         47,490 to 74,360. Id. But as ICE’s own publication confirms, “repatriation” covers



            14
              See, e.g., Carol Rosenberg, What We Know About the Month-Old Migrant Mission at
            Guantanamo Bay, NY Times, Mar. 10, 2025,
            https://www.nytimes.com/2025/03/10/us/politics/deportations-migrants-
            guantanamo.html?unlocked_article_code=1.3E4.dBRC.OBMNvDg_m3Yd&smid=url-share
            [https://perma.cc/98SJ-V9S6].
                                                                10
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                         any instance when ICE sends a noncitizen “back to their country of citizenship or

                         third country,” which can include a “removal,” a “return”, or an “expulsion.” 15 In

                         other words, “repatriations” are not limited to the removal of detained individuals by

                         flights. ICE’s statistics reflect that the number of removals ranged from 21,020 to

                         35,940 a month (so half of all repatriations). 16 And that statistic is also overinclusive

                         because it includes removals by CBP—essentially removals at the border into a

                         contiguous foreign territory like Mexico or Canada.

                     29. ICE’s annual report reflects that of the total 271,484 removals conducted in 2024,

                         223,752 (nearly 82.5%) were conducted by CBP. 17 Thus, extrapolating from the

                         remaining 17.5%, or 47,732 removals, that averages out to just under 4,000 removals

                         conducted by ICE per month in 2024. 18

                     30. I also understand from public reporting that flights to Guantanamo have exclusively

                         or nearly exclusively come from Fort Bliss, Texas, 19 meaning that individuals first

                         transferred to the El Paso Processing Center in Texas are more likely to be transferred

                         onto Guantanamo. Flights from El Paso only make up a small portion of the total ICE

                         removal flights nationwide. The government appears to have thus far targeted men

                         with final orders; because men make up the majority of people removed on a monthly

                         basis, that would still reduce the baseline comparison rate.




            15
               Off. of Homeland Sec. Statistics, Immigration Enforcement and Legal Processes Monthly
            Tables (last updated Jan. 16, 2025), https://ohss.dhs.gov/topics/immigration/immigration-
            enforcement/immigration-enforcement-and-legal-processes-monthly [https://perma.cc/223F-
            S35V].
            16
               Id.
            17
               Supra n. 15 at 33.
            18
               Id.
            19
               See supra n.14.
                                                               11
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                     31. Further, as President Trump’s memorandum states, the government plans to build

                         capacity to hold up to 30,000 detainees at Guantanamo—a massive scale that would,

                         naturally, lead to even more transfers.

            Conditions at Guantanamo Are Inadequate

                     32. The government asserts that there are procedures for immigration detainees at

                         Guantanamo that are “following and supporting DHS procedures.” ECF No. 14 at 6.

                         However, there are major gaps between the procedures set at Guantanamo and those

                         at U.S. detention facilities.

                     33. For instance, in U.S. detention facilities, detainees may only be placed in segregation,

                         also known as Special Management Units (SMU), in limited circumstances subject to

                         specific procedures. Detainees can only be placed in administrative segregation for

                         administrative reasons or protective custody; if they are awaiting investigation for a

                         violation of facility rules; if they pose a threat to the security of the facility; based on

                         specific misconduct; or if they require protection. 20 Detainees may only be placed in

                         disciplinary segregation conditions only after a hearing and order of a disciplinary

                         panel. 21 Although it appears that the government has now established a separate

                         special housing unit designated for administrative segregation, it appears not to have

                         been used. Decl. of Robert Green ¶ 12. However, it appears that detainees at Unit 6

                         are held in segregation (solitary) conditions akin to such special housing units,

                         without the procedural protections required for placement in such units. Id. ¶¶ 4, 10

                         n.2.




            20
                 PBNDS § 2.12.V.A.1 (Special Management Units).
            21
                 PBNDS § 2.12.V.B (Placement in Disciplinary Segregation).
                                                                12
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                     34. The government also acknowledges that individuals should receive regular

                         opportunities for outdoor recreation, but that those have been discontinued for “safety

                         and security issues.” Id. ¶ 10 n.2. However, in the United States, individuals in

                         special management units (solitary confinement units), would still be afforded an

                         hour of recreation each day. That does not seem to be the policy at the facility known

                         as Camp 6. Id. Further, while the government states that “[t]he MOC also provides

                         regular opportunities for recreation and personal hygiene,” it does not specify what

                         minimum amount of time is provided for recreation and showers, in contrast to ICE

                         detention standards for U.S. facilities. Compare id. ¶ 19, and Lopez-Vega Decl. ¶ 28

                         (“Aliens at the MOC are afforded outdoor recreation time daily. The allotted outdoor

                         recreation time for each alien may vary depending on certain factors . . . .”), with

                         PBNDS § 5.4.II.2 (Recreation) (specifying that “[d]etainees shall have at least four

                         hours a day access, seven days a week, to outdoor recreation,” and that detainees in a

                         Special Management Unit shall receive “at least one hour” of outdoor recreation each

                         day).

                     35. Another major gap is in communication and attorney access. The government states

                         that written notice of the right to contact counsel is posted at both Camp 6 and the

                         MOC, Lopez-Vega Decl. ¶ 12, but the posting does not ensure actual notice to each

                         individual, as compared to U.S. detention facilities, where noncitizens should be

                         provided with an outgoing call and a handbook explaining their rights upon intake at

                         each facility. 22 Moreover, it is not currently possible for attorneys to physically visit



            22
               PBNDS § 2.1.II.11 (Admission and Release) (“Detainees shall have access to one free
            telephone call during the admissions process”); id. § 2.1.V.A (requiring each new arrival to be
            oriented to facility operations in the form of an ICE National Detention Handbook).
                                                               13
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                         detainees at Guantanamo, Lopez-Vegas Decl. ¶ 20, whereas attorneys can visit client

                         in U.S. detention facilities as well as military detainees at Guantanamo. 23

                     36. The government states that starting March 2, 2025, detainees are authorized one five-

                         minute personal phone call per day Green Decl. ¶ 22. This is far below the amount of

                         communication access that detainees have in the United States, even those in

                         administrative segregation. 24 In addition, although ICE detention standards allow

                         facilities to place reasonable restrictions on the hours, frequency, and duration of

                         phone calls, the standards do not provide for any restrictions on the allowable content

                         of communications in detainee calls, including restrictions on communicating with

                         others, via telephone, the detainee’s location. 25

                     37. Lastly, the government states that staff are using a “restraint chair” to prevent self-

                         harm and for disciplinary purposes. Id. ¶ 15. But ICE detention standards in the U.S.

                         provide that “[u]nder no circumstances shall staff use force or apply restraints to

                         punish a detainee.” 26

            Conclusion

                     38. In conclusion, the government’s rationales for its Guantanamo transfer and detention

                         policy simply do not withstand any scrutiny. The recent transfers of people to

                         Guantanamo and back to the United States to effectuate their removals underscore the




            23
               PBNDS § 5.7.V.J (Visits by Legal Representatives and Legal Assistants) (requiring each
            facility to permit in-person legal visitation seven days a week).
            24
               PBNDS §§ 5.6.V.D.1-E.2 (Telephone Access) (requiring telephone access at least during eight
            “waking hours” each day and permitting only “reasonable limitations on the duration and
            number of calls per detainee.”); id. § 2.12.V.H (specifying that detainees in administrative
            segregation shall “receive the same privileges available to detainees in the general population.”).
            25
               PBND. § 5.6.V.D (outlining allowable restrictions on detainee telephone use.).
            26
               PBNDS § 2.15.B.2 (Principles Governing the Use of Force and Application of Restraints).
                                                               14
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                         illogical and costly nature of these transfers, in addition to undercutting the

                         government’s own justifications for this entire operation. The government has already

                         transferred 290 people from 27 distinct countries to Guantanamo, illustrating how

                         expansive this policy has grown. And yet the government seems far from prepared or

                         capable of detaining noncitizens at Guantanamo in accordance to ICE’s own

                         detention standards.



            Executed on this 12th day of March, 2025, in Washington, DC.



                                                             3/12/2025 | 11:14 PM EDT




            Deborah Fleischaker




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